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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA                   INFORMATION
                                                     I /""]
              V. -                          19 Cr. "wt



 KAITLYN GOLD,


           Defendant.


                                     x




                                COUNT ONE
                  (Conspiracy to Commit Wire Fraud)


     The United States Attorney charges:


     1. At all times relevant to this Information/ KAITLYN GOLD/


the defendant/ was an employee of a consumer products testing


laboratory (the "Laboratory^) in Rockland County^ New York. The


Laboratory tested the efficacy and safety of cosmetics/ sunscreens


and other products on specified numbers of volunteer panelists in


exchange for fees paid by consumer products companies (the

"Laboratory's Customers^).


     2. From at least in or about 2006 through in or about April


2017, KAITLYN GOLD/ the defendant, and other employees of the


Laboratory tested products on materially lower numbers of


panelists than the numbers specified by the Laboratoryf s


Customers. GOLD and other Laboratory employees then falsely


represented to the Laboratory^ s Customers that they had tested the


products on the number of panelists specified by the Laboratory^ s
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Customers. GOLD and other Laboratory employees also made


materially false and misleading statements about the results of


the tests to the Laboratory^ s Customers.


     3. From at least in or about 2006 through in or about April


2017, in the Southern District of New York and elsewhere, KAITLYN


GOLD/ the defendant, and others known and unknown^ willfully and


knowingly did combine/ conspire/ confederate, and agree together


and with each other to commit wire fraud, in violation of Title


18, United States Code/ Section 1343.


     4. It was a part and an object of the conspiracy that


KAITLYN GOLD/ the defendant^ and others known and unknown/ having


devised and intending to devise a scheme and artifice to defraud


and for obtaining money and property by means of false and

fraudulent pretenses/ representations/ and promises/ would and did


transmit and cause to be transmitted by means of wire^ radio/ and


television communication in interstate and foreign commerce/


writings/ signs, signals, pictures/ and sounds for the purpose of


executing such scheme and artifice/ to wit/ GOLD and other


Laboratory employees sent the Laboratory7 s reports containing the


false information described to paragraph 2 of this Information to

the Laboratory's Customers via interstate email communications/ in


violation of Title 18, United States Code, Section 1343.

           (Title 18, United States Code, Section 1349).
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                                  COUNT TWO
                                 (Wire Fraud)

     The United States Attorney further charges:

     5. The allegations contained in paragraphs 1 and 2 of this


Information are repeated and realleged as if fully set forth


herein.


     6. From at least in or about 2006 through in or about April


2017, in the Southern District of New York and elsewhere, KAITLYN


GOLD/ the defendant/ willfully and knowingly/ having devised and


intending to devise a scheme and artifice to defraud and for


obtaining money and property by means of false and fraudulent


pretenses^ representations^ and promises/ did transmit and cause


to be transmitted by means of wire^ radio, and television


communication in interstate and foreign commerce/ writings^ signs/


signals^ pictures^ and sounds for the purpose of executing such


scheme and artifice,, to wit/ GOLD and other Laboratory employees


sent the Laboratory/s reports containing the false information


described in paragraph 2 of this Information to the Laboratory^ s

Customers via interstate email coinmunications .


          (Title 18, United States Code/ Sections 1343 and 2).

                           FORFEITURE ALLEGATION

     7. As a result of committing the offenses alleged in Counts


One and Two of this Information KAITLYN GOLD, the defendant, shall


forfeit to the United States^ pursuant to Title 18, United States
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Code/ Section 981(a)(1)(C) and Title 28 United States Code, Section


2461(c)/ any and all property/ real and personal, that constitutes


or is derived from proceeds traceable to the commission of said


offenses^ including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to


the commission of said offenses .


                      SUBSTITUTE ASSET PROVISION

     8. If any of the above-described forfeitable property/ as


a result of any act or omission of the defendant :


           a. cannot be located upon the exercise of due diligence;


           b. has been transferred or sold to/ or deposited with/


a third party;


           c. has been placed beyond the jurisdiction of the court;


           d. has been substantially diminished in value; or


           e. has been commingied with other property which cannot


be divided without difficulty;

it is the intent of the United States/ pursuant to Title 21^ United


States Code/ Section 853(p) and Title 28, United States Code, Section


2461 (c)/ to seek forfeiture of any other property of the defendant


up to the value of the forfeitable property described above .

  (Title 18, United States Code/ Section 981; Title 21, United
   States Code/ Section 853; and Title 28 /. United States Code r
                          Section 2461.


                                            'A/ t/ tr-"^        1.^1

                                       GEOFFRlY^ SI BERMAN
                                       United States Attorney
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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK



               UNITED STATES OF AMERICA

                            V.



                     KAZTLYN GOLD/


                                         Defendant



                      INFORMATION



              18 U.S.C. §§ 1349 and 1343)


                  GEOFFREY S. BERMAN
                United States Attorney
